         Case 23-24864                  Doc 9      Filed 11/04/23 Entered 11/04/23 22:20:38                                          Desc Imaged
                                                  Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Emmanuel Z Hernandez                                      Social Security number or ITIN        xxx−xx−6826
                      First Name   Middle Name   Last Name                      EIN _ _−_ _ _ _ _ _ _
Debtor 2              Brittany Nicole Hope−Hernandez                            Social Security number or ITIN        xxx−xx−3291
(Spouse, if filing)
                      First Name   Middle Name   Last Name                      EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court District of Utah
                                                                      Date case filed for chapter 7: 10/26/23
Case number: 23−24864 PH

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                               10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov) or by
calling the Voice Case Information System (VCIS) at 1−866−222−8029.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                            About Debtor 1:                                          About Debtor 2:

1.      Debtor's full name                  Emmanuel Z Hernandez                                     Brittany Nicole Hope−Hernandez

2.      All other names used in the                                                                  aka Brittany Nicole Hernandez
        last 8 years

3.     Address                             5331 W Impressions Way                                    5331 W Impressions Way
                                           Salt Lake City, UT 84118                                  Salt Lake City, UT 84118

4.     Debtor's attorney                   Robert S. Payne                                          Contact phone (801) 980−1313
                                           8833 South Redwood Road
       Name and address                    Suite C                                                  Email: robertspaynelaw@gmail.com
                                           West Jordan, UT 84088

5.     Bankruptcy trustee                  J. Kevin Bird tr                                         Contact phone 801−426−4700
                                           J. Kevin Bird
       Name and address                    212 South Main Street                                    Email: Kevin@BirdLawUT.com
                                           Ste 102
                                           Spanish Fork, UT 84660
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
Date Generated: 11/2/23                                                                                        For more information, see page 2 >
         Case 23-24864                     Doc 9     Filed 11/04/23 Entered 11/04/23 22:20:38                                      Desc Imaged
                                                    Certificate of Notice Page 2 of 4
Debtor Emmanuel Z Hernandez and Brittany Nicole Hope−Hernandez                                           Case number 23−24864
6. Bankruptcy clerk's office                    United States Bankruptcy Court Hours open: 8:00 AM to 4:30 PM, Monday − Friday
                                                District of Utah
   Documents in this case may be filed at 350 South Main #301                  Contact phone: (801) 524−6687
   this address. You may inspect all            Salt Lake City, UT 84101
   records filed in this case at this office or
   online at https://pacer.uscourts.gov.                                       Website: www.utb.uscourts.gov
                                              Clerk of Court: David A. Sime

7. Meeting of creditors                       The meeting may be continued or               Meeting to be held on:
                                              adjourned to a later date.                    November 29, 2023 at 04:00 PM
    Debtors must attend the meeting to be
    questioned under oath. In a joint case,  All individual debtor(s) must
    both spouses must attend. Creditors      provide picture identification and     Location:
    may attend, but are not required to do
                                             proof of social security number to     The meeting is by Zoom. Go to Zoom.us, Click
    so.                                                                             on JOIN or call 1 (385) 363−3707, Enter Meeting
                                             the trustee. Failure to do so may
                                             result in your case being              ID 595 420 5321, and Passcode 3017501241
                                             dismissed.
                                  For additional meeting information go to https://www.justice.gov/ust/moc

8. Presumption of abuse                       The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                  File by the deadline to object to             Filing deadline: 1/29/24
                                              discharge or to challenge
    The bankruptcy clerk's office must        whether certain debts are
    receive these documents and any           dischargeable:
    required filing fee by the following
    deadlines.
                                              You must file a complaint:
                                              • if you assert that the debtor is not entitled to
                                                receive a discharge of any debts under any of the
                                                subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                or

                                              • if you want to have a debt excepted from discharge
                                                under 11 U.S.C § 523(a)(2), (4), or (6).

                                              You must file a motion:
                                              • if you assert that the discharge should be denied
                                                under § 727(a)(8) or (9).


                                              Deadline to object to                         Filing deadline: 30 days after the conclusion of
                                              exemptions:                                   the meeting of creditors
                                              The law permits debtors to keep certain
                                              property as exempt. If you believe that the
                                              law does not authorize an exemption
                                              claimed, you may file an objection.


10. Proof of claim                             No property appears to be available to pay creditors. Therefore, please do not file a proof
                                               of claim now. If it later appears that assets are available to pay creditors, the clerk will
    Please do not file a proof of claim unless send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.             deadline.

11. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                                   asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                              United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                           The law allows debtors to keep certain property as exempt. Fully exempt property will not
                                              be sold and distributed to creditors. Debtors must file a list of property claimed as exempt.
                                              You may inspect that list at the bankruptcy clerk's office or online at
                                              https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                              that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                              receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                 page 2
            Case 23-24864                Doc 9      Filed 11/04/23 Entered 11/04/23 22:20:38                                        Desc Imaged
                                                   Certificate of Notice Page 3 of 4
                                                              United States Bankruptcy Court
                                                                      District of Utah
In re:                                                                                                                 Case No. 23-24864-PH
Emmanuel Z Hernandez                                                                                                   Chapter 7
Brittany Nicole Hope-Hernandez
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 1088-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Nov 02, 2023                                               Form ID: 309A                                                             Total Noticed: 21
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 04, 2023:
Recip ID                   Recipient Name and Address
db/jdb                 +   Emmanuel Z Hernandez, Brittany Nicole Hope-Hernandez, 5331 W Impressions Way, Salt Lake City, UT 84118-8533
12324547               +   Lone Peak Family Medical, POB 740776, Cincinnati, OH 45274-0776
12324555               +   Utah Department of Workforce Services, POB 45288, Salt Lake City, UT 84145-0288
12324556               +   Utah Fusion All Stars, 6363 Crimson View Drive, South Jordan, UT 84009-4708
12324559               +   White Pine Veterinary Clinic, 2100 W Rasmussen Rd., Park City, UT 84098-5424

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: robertspaynelaw@gmail.com
                                                                                        Nov 02 2023 23:30:00      Robert S. Payne, 8833 South Redwood Road,
                                                                                                                  Suite C, West Jordan, UT 84088
tr                     + EDI: FJKBIRD
                                                                                        Nov 03 2023 03:27:00      J. Kevin Bird tr, J. Kevin Bird, 212 South Main
                                                                                                                  Street, Ste 102, Spanish Fork, UT 84660-4679
12324542                   EDI: WFNNB.COM
                                                                                        Nov 03 2023 03:27:00      Comenity Bank, POB 182273, Columbus, OH
                                                                                                                  43218-2273
12324544                   EDI: DISCOVER.COM
                                                                                        Nov 03 2023 03:27:00      Discover Card, 2500 S Lake Park Blvd, Salt Lake
                                                                                                                  City, UT 84120
12324543                   EDI: DISCOVER.COM
                                                                                        Nov 03 2023 03:27:00      Discover, POB 29033, Phoenix, AZ 85038-9033
12324545               + Email/Text: bankruptcy@gurstel.com
                                                                                        Nov 02 2023 23:31:00      Gurstel Law Firm PC, 1275 E Fort Union Blvd,
                                                                                                                  Suite 116, Midvale, UT 84047-1887
12324546                   EDI: IRS.COM
                                                                                        Nov 03 2023 03:27:00      IRS, POB 7346, Philadelphia, PA 19101-7346
12324548               + Email/PDF: HCABKNotifications@resurgent.com
                                                                                        Nov 02 2023 23:40:27      Lone Peak Hospital, POB 740757, Cincinnati, OH
                                                                                                                  45274-0757
12324549               + Email/Text: bankruptcydpt@mcmcg.com
                                                                                        Nov 02 2023 23:31:00      Midland Credit Management Inc., 8875 Aero
                                                                                                                  Drive, Suite 200, San Diego, CA 92123-2255
12324550               + EDI: NFCU.COM
                                                                                        Nov 03 2023 03:27:00      Navy Federal Credit Union, POB 3000, Merrifield,
                                                                                                                  VA 22119-3000
12324551                   Email/Text: lawfirmTX@rsieh.com
                                                                                        Nov 02 2023 23:31:00      Rausch Sturm LLP, 250 N Sunnyslope Road, Suite
                                                                                                                  300, Brookfield, WI 53005
12324553                   EDI: USAA.COM
                                                                                        Nov 03 2023 03:27:00      USAA, 10750 McDermott Fwy, San Antonio, TX
                                                                                                                  78288-0570
12324554                   EDI: USAA.COM
                                                                                        Nov 03 2023 03:27:00      USAA Federal Savings Bank, 10750 McDermott
                                                                                                                  Freeway, San Antonio, TX 78288-9876
12324552               + EDI: LCIUPSTART
                                                                                        Nov 03 2023 03:27:00      Upstart Network Inc., POB 1503, San Carlos, CA
                                                                                                                  94070-7503
12324557                   EDI: UTAHTAXCOMM.COM
                                                                                        Nov 03 2023 03:27:00      Utah State Tax Commission, Attn: Bankruptcy
            Case 23-24864              Doc 9      Filed 11/04/23 Entered 11/04/23 22:20:38                                  Desc Imaged
                                                 Certificate of Notice Page 4 of 4
District/off: 1088-2                                              User: admin                                                             Page 2 of 2
Date Rcvd: Nov 02, 2023                                           Form ID: 309A                                                         Total Noticed: 21
                                                                                                            Unit, 210 N. 1950 W., Salt Lake City, UT
                                                                                                            84134-3340
12324558                + Email/Text: BKRMailOps@weltman.com
                                                                                   Nov 02 2023 23:31:00     Weltman, Weinberg & Reis Co., LPA, 965
                                                                                                            Keynote Circle, Independence, OH 44131-1829

TOTAL: 16


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 04, 2023                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 26, 2023 at the address(es) listed
below:
Name                             Email Address
J. Kevin Bird tr
                                 Kevin@BirdLawUT.com kbtrustee@aol.com;jkb@trustesolutions.net

Robert S. Payne
                                 on behalf of Debtor Emmanuel Z Hernandez robertspaynelaw@gmail.com
                                 robert_s_payne@yahoo.com;r51300@notify.bestcase.com

Robert S. Payne
                                 on behalf of Joint Debtor Brittany Nicole Hope-Hernandez robertspaynelaw@gmail.com
                                 robert_s_payne@yahoo.com;r51300@notify.bestcase.com

United States Trustee
                                 USTPRegion19.SK.ECF@usdoj.gov


TOTAL: 4
